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   Brigitte Kelly
 6
                                     UNITED STATES DISTRICT COURT
 7
                                   NORTHERN DISTRICT OF CALIFORNIA
 8

 9
     Brigitte Kelly                                       Case No.: 3:21-cv-03638-TSH
10
                      Plaintiff,                          PLAINTIFF’S NOTICE OF VOLUNTARY
11                                                        DISMISSAL OF DEFENDANT
            vs.                                           LENDINGCLUB CORPORATION
12                                                        PURSUANT TO FEDERAL RULE OF
     LendingClub Corporation                              CIVIL PROCEDURE 41(A)(1)
13
                      Defendant
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17 PLEASE TAKE NOTICE that Plaintiff Brigitte Kelly, pursuant to Federal Rule of Civil

18 Procedure 41(a)(1), hereby voluntarily dismisses LendingClub Corporation as to all claims in this

19 action, with prejudice.
           Federal Rule of Civil Procedure 41(a)(1) provides, in relevant part:
20
            41(a) Voluntary Dismissal
21
            (1) By the Plaintiff
22
                      (a) Without a Court Order. Subject to Rules 23(3), 23.1(c), 23.2, and 66 and any
23
                          applicable federal statute, the plaintiff may dismiss an action without a court
24
                          order by filing:
25
                              (1) a notice of dismissal before the opposing party serves either an answer
26
                                   or a motion for summary judgment.
27
            Defendant LendingClub Corporation has neither answered Plaintiff’s Complaint, nor filed
28

                                                         1
                         PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
       Case 3:21-cv-03638-TSH Document 15 Filed 11/30/21 Page 2 of 2




 1 a motion for summary judgment. Accordingly, the matter may be dismissed against it for all

 2 purposes and without an Order of the Court.

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 4 Dated: November 30, 2021             Gale, Angelo, Johnson, & Pruett, P.C.

 5
                                            By:          /s/ Joe Angelo
 6                                                      Joe Angelo
                                            Attorneys for Plaintiff
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                     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
